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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA

In Re: Oil Spill by the Oil Rig                          MDL No. 2179
“Deepwater Horizon” in the
Gulf of Mexico, on
April 20, 2010                                           SECTION: J

This Document Relates to: No. 12-01922                   Judge Barbier
                                                         Mag. Judge Shushan



            MEMORANDUM IN SUPPORT OF MOTION TO REMAND


       Plaintiffs, Slabic Oysters, L.L.C., Dordi Slabic, and Misho’s Quality Oysters,

L.L.C. submit this memorandum in support of their motion to remand this case to the 25th

Judicial District Court for the Parish of Plaquemines.

                                         Introduction

       The Plaintiffs filed this State court action against the Defendants, alleging the

breach of a state law contract to transfer an interest in certain Louisiana oyster leases.

Both Defendants are residents and domicilaries of Louisiana, and two of the three

Plaintiffs are also residents and domicilaries of Louisiana; the absence of diversity

jurisdiction is therefore established.

       The Defendants have instead removed the action on the grounds that the outcome

of the case may impact the identity of the party entitled to share in the proceeds of the BP


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economic damages/settlement program. The Defendants allege that the lawsuit is an

attempt to usurp or interfere with the court-appointed Administrator’s resolution of the

Defendants’ BP claims.

      The short answer is that the lawsuit seeks to adjudicate state law property claims

based on state law contracts. The ultimate outcome may impact the property rights of the

Plaintiffs and Defendants, including but not limited to the right to receive proceeds from

the BP claims settlement program, but this does not convert the lawsuit issues into federal

questions.   Were that the case, every state law claim that potentially impacted the

disposition of the BP claims settlement program proceeds would be converted into a

federal question. This would include disputes among buyers and sellers of businesses;

disputes among buyers and sellers of real property; disputes among heirs arising under

Louisiana succession law; and disputes among Louisiana debtors and creditors or banks

and borrowers over entitlement to such proceeds, among many others.

                                          Argument

      1. Federal question removal jurisdiction is strictly construed.

      The burden of demonstrating that a federal question exists is on the Defendants,

and the strict construction of federal removal jurisdiction requires that any doubt must be

resolved in favor of remand.1




1
      Gutierrez v. Flores, 543 F 3d 248 (5th Circuit 2008).


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       The mere presence of a federal issue does not create federal question jurisdiction.

Even when a substantial federal question is necessary to the resolution of a state law

claim, this is not itself sufficient to permit the exercise of federal jurisdiction.2

       2. There is no substantial issue of federal law here.

       The BP settlement fund consists of private money deposited by private litigants.

The fact that the federal district court is involved in the administration of the funds does

not convert them into federal funds, nor turn the issue into a federal question. 3

       For a state law claim to be removed under federal question jurisdiction, there must

be a contested federal issue; that issue must be substantial; and the exercise of federal

jurisdiction must also be consistent with “the sound division of labor between state and

federal courts governing Section 1331’s application”.4 Even when all of those factors are




2
        Singh v. Duane Morris, L.L.P., 538 F 3d 334, 338 (5th Circuit 2000). See also MSOF
Corp v. Exxon Corp 295 F 3d 485, 491-2 (5th Circuit 2002) (holding that there was no removal
jurisdiction where “the vindication of these Plaintiffs’ rights does not turn on resolution of a
federal question.”). Similarly, here there is no construction of federal law required to determine
the validity or invalidity of the Plaintiffs’ claims.
3
        There is a distinction in removal cases between those in which the payment of federal
funds hinges on the outcome of the state law dispute, and cases where only private litigant funds
are at issue, even though the claims relate to a federal program. The latter do not create federal
removal jurisdiction. Landry v. State Farm Fire and Casualty Co., 428 F.Supp.2d 531, 535 (E.D.
La. 2006) (remanding state law claims against insurance company and agent writing policies for
National Flood Insurance Program).
4
       Grable and Sons Metal Products, Inc. v. Darue Engineering and Manufacturing, 545 U.S.
308 (2005).



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present, federal courts should not exercise jurisdiction if it would disturb the “balance of

federal and state judicial responsibilities”.5

       In this case, no federal law need be applied to resolve the outcome of the state law

contract issues presented in the petition. The resolution of the breach of contract claims

does not “necessarily turn on some construction of federal law” sufficient to support

“arising under” jurisdiction. Bernhard v. Whitney National Bank, 523 F.3d 546, 551 (5th

Cir. 2008).

       3. This case will not “undermine” the BP settlement program, and the

existence of that program does not create federal removal jurisdiction.

       The outcome of this action will impact only the litigants. Its resolution will not

reduce the BP settlement fund, nor impact or interfere with any other class members’

claims. The Plaintiffs are seeking to preserve the status quo where that fund is concerned,

pending the resolution of their claims. They are not attempting to assert claims against BP

or any other settling party that would undermine or collaterally attack the settlement

agreement.

       It is important to note that even if the Plaintiffs’ state court claims are

characterized (or mischaracterized) as an impermissible collateral attack on the

administration of the BP settlement program, that would still not support federal removal

jurisdiction. Because federal removal jurisdiction is a creature of statute and is strictly

construed and confined within the precise jurisdictional language of the authorizing


5
       Id. at 314.


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statute, the Court is required to remand even state law claims that are in clear violation of

a federal class action settlement court’s orders.6

       The Defendants’ assertion of supplemental jurisdiction is also unavailing.

Supplemental or ancillary jurisdiction is not original jurisdiction, and therefore “cannot

confer removal rights.” 7 Cases involving an impact on “the timely and successful

implementation of [a] settlement agreement” are not subject to removal because

“although the federal court had retained jurisdiction over the settlement, the assertion of

ancillary jurisdiction was to no avail since there was no original federal jurisdiction over

the state suit”.8

                                          Conclusion

       There is no serious question of federal law here, and none which affects the merits

of the dispute. The federal “issue”—the timing of a potential settlement payment and the

party designated to receive it—is collateral and ancillary to the state law merits, and

dependent on the resolution of those merits; not the other way around. Because there is




6
        Syngenta Crop Protection, Inc. v. Henson, 537 U.S. 28, 32-4 (2002). There, the plaintiff
filed a Louisiana state court action despite the fact that the claims appeared to be clearly barred
by the res judicata effect of an earlier federal class action settlement in Alabama. The Supreme
Court nonetheless held that although the defendant may have had other remedies, removal of the
case to federal court was not one of them.
7
       Chisesi v. Chisesi, 2010 WL 1462268 (E.D. La. 4/8/10), p. 3.
8
        Hornung v. City of Oakland, 2006 WL 279337, at pp. 2-3 (N.D. Calif. 2006). See also
Kirkland v. Rolle, 2011 WL 5044200 (S.D. NY 2011) (remanding case where removing defendant
alleged that the case threatened the “orderly process of [litigation] pending in federal court”).



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no federal removal jurisdiction, the Court should remand the case and award fees and

expenses to Plaintiffs to the extent provided by law.

                                               Respectfully submitted,

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                                      Certificate of Service

       I hereby certify that the above and foregoing has been served on All Counsel by
electronically uploading the same to LexisNexis File & Serve in accordance with Pretrial
Order No. 12, and that the foregoing was electronically filed with the Clerk of Court of
the United States District Court for the Eastern District of Louisiana by using the
CM/ECF System, which will send a notice of electronic filing in accordance with the
procedures established in MDL 2179, on this 21st day of August, 2012.


                                               /s/James F. Gasquet, III
                                               James F. Gasquet, III



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